Case 1:23-cr-00347-JGK            Document 136-31          Filed 04/17/25       Page 1 of 3



Honorable John G. Koeltl

Daniel Patrick Moynihan
United States Courthouse,

Courtroom 14A
500 Pearl St.
New York, NY 10007-1312
31.01.2025

Dear Judge Koeltl,

My name is Elionora Lola Scheiner, and I am Alex's younger sister. I have worked alongside
Alex on and off for almost 20 years, starting when I was as young as 15.

Alex and I were both born in Ukraine, which was then part of the Soviet Union. Born into a
system of strict communism, we immigrated to Israel in 1972 thanks to efforts by the United
States president and were eventually set free.

Life as immigrants in socialist Israel with limited resources, had sharpened our minds; It
forced us to constantly assess harsh reality and adapt quickly to change.

Alex quickly grasped the American system, where one’s dreams can become reality. He He
emigrated from Israel in 1988 after his military service and assimilated into the melting pot,
starting company after company, fighting for what he believed was possible, and inspiring
others to follow his vision. He engaged young minds, sharing his passions, dreams, and
innovative ideas.

In this letter, I aim to describe how my brother, Alex Mashinsky, has contributed to the
American economy, society, and impacted individuals over the past 30+ years.

When I was 21, I worked in a plastic factory in Israel to support myself. One day, Alex visited
from the United States and saw my situation. Without hesitation, Alex, who was then 26,
offered for me to come to the U.S. to help him build his business, with him taking care of all
my needs. I agreed, but only after making him promise to pay for my college tuition. We
agreed that I would work for him, and he would deduct the tuition fees from my paycheck.

I followed my intuition and trusted my older brother. I accompanied him wherever he went
and helped with whatever he asked.

In the 1990s, Alex was fascinated by the field of telecommunications. At the time, telecom
companies were massive monopolies with virtually unlimited resources. Despite this, Alex—
self-taught and driven—conceived a new technology: to make voice calls free on a new
network called "The Internet". He filed patents related to electronic telecommunications,
and became a pioneer in the Voice Over Internet Protocol (VoIP) industry. His work in VoIP




                                                                                           Ex. A-30
Case 1:23-cr-00347-JGK            Document 136-31          Filed 04/17/25       Page 2 of 3



enables the free transfer of billions of bytes every day through chats, social media, and
conversations.

Alex set out to revolutionize communication by disrupting the telecom industry in the late
20th century; he faced criticism and anger from the telecom monopolies much like his more
recent efforts to make the banking industry more open and inclusive in this century.
Telecom companies were deeply concerned about the potential loss of massive revenue due
to this technological shift.

In retrospect, Alex’s thinking was ahead of its time—but not by much. Fortunately, he
managed to ride the wave of technological changes in the telecom field. However, Alex
never pursued the financial rewards from these patents nor filed lawsuits to claim his share
from those who benefited from his innovations.

My family attended the ceremony in Jerusalem in 2001 when the prime minister of Israel
awarded Alex the Einstein Prize for innovation for his VOIP efforts. I had tears in my eyes
thinking how far we have come since 1972.

Throughout his active years as an entrepreneur and CEO, Alex employed thousands of
people, providing them with job security, steady paychecks, and a dynamic work
environment where his door was always open. He welcomed ideas, opinions, and even
criticism. Alex was always willing to offer advice, share anecdotes, and even lunch with his
colleagues—treating everyone with respect and as equals, regardless of their background,

The employees at Smartnet, Arbinet, and Limores—where I worked from 1992 to 2007—
came from diverse backgrounds. They included people of various cultures, ages, races,
genders, and experiences. Some examples include:

   •   RG, a single mother and immigrant from the Caribbean, who was working to get back
       on her feet after experiencing homelessness.
   •   CP, a young college graduate from Australia, eager to break into the American
       corporate world.
   •   HK, a young Asian woman who had recently married.
   •   MN, a war refugee from Belgrade who worked as a junior technician.

The list goes on. Alex gave all of us stock options and bonuses, always sharing the wealth
created. When Arbinet went public in 2004 many of these employees became millionaires
overnight. Few called Alex to thank him.

In 2020, I founded an NGO called Call1 in Israel, aimed at supporting young adults in the
country's peripheral regions who face educational challenges. This initiative seeks to
contribute to reducing societal disparities in Israel. Alex generously contributed funds to the
NGO, which were subsequently allocated to assist displaced families in northern Israel
amidst the ongoing conflict.

To this day, Alex continues to believe in the inherent good of mankind. He has faith in the
ongoing progress of science, technology, and society, and he is committed to bringing new
ideas to life—ideas that empower individuals to think in ways that were once unimaginable.



                                                                                            Ex. A-30
 Case 1:23-cr-00347-JGK           Document 136-31          Filed 04/17/25       Page 3 of 3



I sincerely believe that the man in front of you has contributed significantly to the American
and world economy over many years, and that he wholeheartedly believes in the American
way.

I hope you will consider this letter and put any misconduct by my brother in the context of
his entire life efforts and what is yet to come.



Sincerely,
Elionora Lola Scheiner



Israel.




                                                                                         Ex. A-30
